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™ :
James G. Abourezk Condenselt! January 18, 2005
Page i Page 3
1 UNITED STATES DISTRICT COURT 1 Exhibit 10
(Article by James Akourezx, "Questioning Bush's
2 : DISTRICT OF SOUTH DAKOTA 2 Policies a not Unpatriotice")
3 SOUTHERN CIVISION 3 Exhibit 1i
(Article by Wames Abourezk, “We can beat iragd,
4 SR ee 4 per what for?"}
5 James G. Abourezk, 3 Exhibit 12
(Press announcement about Iraq visit by
6 Plaintitf, § Institute for Public Accuracy}
-v3-
7 7 Exhibit 13:
ProBush.com, Inc., a Pannsylvania {E-mail fron Todd Zpp to Team Leader, 4-30-03)
a corporation, and Michael Marino, 8 :
an individual, Exhibin 14
3 3 {Letter to Michael Marino from Todd Epp,
Defendant, 3-8-0903)
16 10
Exhibit 15 |
.1 il (9-16-02 article an Democracy Yow)
Johnsen, Heidepriem, Miner,
12 Marlow & Janklow i2 Exhibin 16
Sioux Falls, 50 (Acticle an |Lehanonwire.com, 6-14-02)
i3 Januacy 18, 2005 23
: 3:00 ofclock p.m. Exnibic i?
14 RR RR RR eR eR Rr Rk ee 24 (Article in {Institute for Public Accuracy,
DEPOSITION OF 3-20-02)
iS 4s
James G. Abourezk Exhibit 18
16 SRR RR be re eR RR wk ek 16 (Sames Abougezk’s Cangressicnal biography}
APPEARANCES:
17 7 Exhibit 19
Mr. Todd DO. Epp (Remarks to AAUG Annual Convention, James
18 Abourezk Law Offices 18 Abourezk, 14-13-96)
Box 1164
13 Sioux Falls, $0 57101-1164 1g Exnibit 20 ,
for the Plaintiff (Article by iJames Abourezk in Progresive Media
20 20 Project, 9-43-02)
Mr. Ronald Parsong
2k Me. Kimberly J. Lanham al Exniblt 21
Johnson, Heidepriem, Miner, Marlow & Janklow (BookFinder.com, Imperial Washington: The Story
22 P.G. Box 1107 22 af American :Public Life from 2870 to 1926, by
Sloux Falls, 5D 57101-1197 F.R. Pettiguew)
23 for the Defendants 23
Exnibit 22 ,
24 ALSO PRESENT: Michael Marino 24 (Living Vegdtarian, List of Politicians,
Ben Marino Statespersars and Activists)
25 23 i
Page 2 Page 4
1 INDEX TO WITNESS 1 Exhibit 23 ,
(Public Campaign's National Advisery Board
2 Examination 2 list) :
3 BY Mr. Parsons p. 5 3 Exhibit 24
tarticle by James Apsuregk, "I'll Hold My Nose
4 4 With One Hand and Vote for Clinton With the
other") :
5 5
Exhiblte 25
6 6 {Article by |Sheldon Sunness, "A Talk with the
Lonely Man.'l}
7 INDEX TO EXHIBITS 7 i
Exhibit 26
3 Marked For Offered for 8 {Excerpts fyom Advise & Dissent, by James
Identification Evidence Abourezk}
3 9
Exnibic 2 i
19 (Verified Complaint} 10 i
ll Exhibit 2 31
tAffidavic of James G. Ahourezx}
12 12
Exhibit 3
13 (Affidavit of Todd D0. Bpol 13
1¢ Exhibit 4 ld
(Opening page of ProBush.com’s website)
15 15
Exhibic §
16 (Patciot List) ~ 16
|
1? Exhibit 6 wv
(Traitor List) :
18 18 i
Exhibit 7 :
13 (Not In Our Name Pecition) is
1
20 Exhibin 3 20
(Acticie in Progressive Newsware on Optosition
21 to Bush Administration’s Plans to Invade Iraq) 21
22 Exnibit 9 22
(Article py James Abourezk, "Questloning
23 President’s Policies 4s nat Unpatriotic"} 23 waite
24 The origina] transeript of this deposition was
EXHIBIT 1
25

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given to Mz} Parsons

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1 STIPULATION 1 A. Well, I wags angered, outraged, surprised.
2 It is stipulated and agreed by and between 2 Q. And tell mie why,
3 the above-named parties, through their 3 A. [ guess it's not my place to ask questions, but
4 attorneys of record, whose appearances have 4 I would just ask you, how would you feel if
5 been hereinabove noted, that the deposition of 5 somebody icalled you a traitor of the United
6 James G. Abourezk may be taken at this time and 6 States? That's the real answer.
7 place, that is, at the offices of Johnson, 7 Q. Did you understand the website to be asserting
8  Heidepriem, Miner, Marlow & Janklow, Sioux 8 that you had committed treason against the
9 Falls, South Dakota, on the 18th day of 9 United States Government?
10 January, 2005, commencing at the hour of 3:00 10 A. Well, I understood the website to have called
11 o'clock p.m.; said deposition taken before Jill 11 me a traitor to the United States Government,
12. M. Connelly, Notary Public within and for the 12 yes, the United States. That's what I
13 State of South Dakota; said deposition taken 13. understood.
14 for the purpose of discovery or for use at 14 Q. When ox ba the website, did you believe that
15 trial or for each of said purposes, and said 15 _ all of the people listed on the Traitor List
16 deposition is taken in accordance with the 16 were being! labeled as traitors to the United
17 applicable Rules of Civil Procedure as if taken 17 States?
18 pursuant to written notice. 18 A. | understoad that, yes.
19 JAMES ABOUREZK, 19 Q Did you believe it was true that they were?
20 called as a witness, being first duly swom, 20 A. I didn't believe any of them were traitors, to
21 testified as follows: 21 = my knowledge.
22. EXAMINATION BY MR. PARSONS: 22 Q. Did you construe any political commentary in
23 Q. Would you state your name, please? 23.‘ the websita? I mean did you view it all as
24 A. James Abourezk. 24 political commentary?
25 Q Senator Abourezk, is it okay if I call you Jim? 25 A. Well, I viewed some of it as political
Page 6 Page &
1 A. That's better, yes, i commentary, some of it as hawking products,
2 Q. Why don't you tell me how you first became 2 like Bush dolls or some things like that.
3. aware of the ProBush.com website. 3 Q. What about the Traitor List itself? Did you
4 A. I think somebody out in New England sent me an 4 consider that at all to be a political
5 e-mail, somebody I knew out there. I'm trying 5 statement Wy the website?
6 to remember exactly who it was. I think it was 6 A. I considered it to be an allegation, a charge
7 aguy from New Hampshire who told me about it, 7 that I was a traitor to the United States.
8 but my memory is not that good on exactly who 8 That's what I considered it to be.
9 told me. 9 Q. When you went on the website, did you see the
10 Q. Did you then personally go and look at the 10 disclaimer?
11 website? 11 A. I did not. Only much later when | checked it
12 A. I did. 12. again, much later.
13 Q. Tell me if you recall what you saw. 13 Q. Do you remember when it was that you first saw
14 A, Well, I saw a list and photographs of people 14 the website! time wise?
15 who were defined as traitors to the United 15 A. I can't give you the exact time, I think it
16 States. 16 was April of whatever year it was. What year
17 Q. Did you see your own name on there? 17 -was that? Do you remember?
18 A. I did. 18 Q. 2002.
19 Q. Did you see the names of other celebrities? 19 A. Yes.
20 A. When you say “other celebrities," you're 20 Q. I think that!s right. In I think late April of
21 assuming I'm one? 21 2002 your attorney, Mr. Epp, wrote some letters
22 Q. Or public figures or prominent people. 22. to ProBushicom, I think an e-mail, and maybe a
23 A. Yes, I did. 23 letter in May, that referred to the
24 Q. What was your reaction to the website when you 24 disclaimer,: So would it be fair to say that
25 saw it? 25 you had at least seen the disclaimer by that

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i point? 1 website? -
2 A. I couldn't tell you what date I saw it. It was 2 A. If they wete, I don't recall.
3 much later than the first time I looked at it, 3 Q. How is it you concluded calling someone a
4 Q, Okay. Do you remember what the disclaimer said 4 traitor in the context you saw it meant that
§ when you saw it? 5 you were heing accused of violating either
6 A. I'm going to take a guess. I think it said, 6 federal or $tate criminal statutes?
7 "This is a parody." If there were other 7 A. It stands to reason if you're accused of being
8 words, I don't remember what they were. 8 a traitor, which is a felony, that means you've
9 Q. Okay. 9 committed treason. That's a felony. I don't
id MR. BPP: Ron, for the record, I believe 10 know what more to say about that.
ll it's 2003, not 2002. Look at Exhibit 13, 1 11 Q Okay. Would you agree the word "traitor" could
12 believe my first e-mail to someone called Team 12 have several different meanings and in
13 Leader at ProBush.com, stamped April 10, 2003. 13. different contexts?
14 MR. PARSON: Okay. 14 A. No.
15 A. That makes sense, because I think it was after 15 Q. Have you ever heard someone called a traitor
16 the Iraq war started, wasn't it? 16 for doing or saying something that was not
17 Q. Okay. So do you recall, does this refresh your 17 necessarily a crime against their country?
18 recollection, did you first see the website in 18 A. I don't know. It's possible.
19 2003 or 2002? 19 Q, I have a copy of the dictionary, the Webster's
20 A. Well, I think it was 2003. 20 New Collegiate Dictionary. Under here, it's
2] MR. BPP: That's my recollection. 21 = Page 1239, there are two definitions, I think,
22 MR. PARSON: All right. Sorry about 22 primarily of traitor. The second definition
23 that. I'm confused on the year then. 23 is, "One who commits treason."
24 Q. Was it 2003 when we invaded? 24 A. I can't see from that far.
25 A. Yes. 25 Q Sorry. And that's how you interpreted the word
Page 10 : Page 12
1 Q, Okay. Do you remember where the disclaimer was 1 to be on the ProBush.com website?
2 when you saw it? 2 A. Yes. Well; I think the language that ] saw on
3 A. I don't. It was on the website when I saw it, 3 the websitg was anybody who -- or, "The
4 but IJ don't remember where. 4 following people who disagree with George
5 Q. Did you see the Patriot List that was on the 5 Bush's policies is a traitor," words to that
6 website? 6 effect, is how I read it.
7 A. I don't recall if it was there. I may have, 7 Q. Right. The first definition actually under
8 but I can't recall. 8 "traitor" in! this dictionary is, "One who
9 Q. Tell me then what happened after you saw the 9 betrays andther's trust or is false to an
10 website. What actions then did you take 10 obligation or duty." Have you ever heard the
11 following that? 11 word "traitor" used in that type of context?
12 A. Well, I retained an attorney. 12 A. I can't recall it right now, but J assume
13 Q. Mr. Epp? 13 that's beeniused that way.
14 A. Mr, Epp. 14 Q. For instance, maybe if someone was on a Sports
15 Q And he sent some correspondence? 1S team and they intentionally threw the game,
16 A. Yeah, I guess so. 16 throwing the ball out of bounds in a basketball
17 Q. Is that something you reviewed before it was 17 game or something like that. Their teammates
18 sent? 18 might call them a traitor.
19 A. I don't remember if I did or not. I most 19 A, They should call them a crook.
20 likely would have, but I can't recall. 20 Q. But calling someone a crook would be accusing
21 Q. In your Complaint, which is marked Exhibit 1, 21 «them ofa crime, as well, wouldn't it?
22 _ on the second page, No. 8 says, "Treason is a 22 A. Yes.
13 felony under federal law, 18 USCA 2381, and 23 Q. Would you'consider that to be libelous?
24 South Dakota law, SDCL 22-8-1." Do you recall, 24 A. If you called somebody a crook and they weren't
25 __were those statutes referenced anywhere on the 25

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a crook, I think that would be libelous, if you
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1 did it in print, yes. 1 Page 3, you're claiming actual damages in the
2 Q. In your Complaint, numbered Paragraph 13 on 2 amount of $2 million. How was that figure
3 Page 2, it says, "Such a statement," which is 3. arrived at?
4 referring to the traitor statement, “is 4 A. Well, I believe that's the amount of damages
5 libelous per se under South Dakota law as it 5 suffered by me as a result of this false
6 accuses the plaintiff of a criminal act he did 6 — allegation..
7 not commit.” 7 Q. What is that based on? How did you arrive at
8 "Libelous per se" has a legal meaning 8 $2 million?
9 where if somebody is libelous per se, I believe 9 A. I did that ip consultation with my attorney,
10 there's a legal doctrine that says you don't 10 and then, of course, I don't believe we're
1] necessarily have to prove specific damages, 11 required tq divulge what our conversation was.
12 A. That's my understanding. 12 Q. That's true. What elements may go into the
13 Q. Is it your claim -- is your claim for damages 13 calculation, though, of $2 million?
14 based upon a libelous per se principle? 14 A. Same answer.
15 A. I have to ask my attorney, if that's what my 15 Q. Is it true that $2 million is just a number
16 claim is based on. 16 that was sdlected to represent the amount you
17 Q. That's acceptable. 17 believe you've been damaged per se?
18 MR. EPP: I'm not answering the question. 18 A. Same answer,
19 The document speaks for itself. 19 Q. What was the answer?
20 A. The document speaks for itself. 20 A. What was my answer?
21 Q. Allright. Have you made any claim that you've 21 (The requested portion of the record was read
22 been specifically -- do you claim you've been 22 by the reporter.)
23. specifically injured economically or otherwise 23 Q, I certainly don't want to know conversations
24 by the ProBush.com? 24 between you and Mr. Epp, but I believe I'm
25 A. I'm not required to prove that. 25 entitled to know how you calculated your
Page 14 Page 16
1 Q. But are you making a claim? 1 damages. If it is simply an amount that is
2 A. That's a question I can't answer and won't 2 selected to represent a libel, per se, judgment
3 answer. 3 you believe you're entitled to, then J accept
4 Q Do you have any evidence or are you aware of 4 that as your answer if that's your answer. But
5 any evidence that you have been specifically 5 if there are economic calculations that went
6 injured by the publication of the ProBush.com 6 into arriving at this figure, I believe I'm
7 ~~ website? 7 entitled to know what those are.
8 A. Same answer. It's a question I won't answer, 8 A. Same answer. It's done in consultation with my
9 Q. That I think is one I'm entitled to get an 9 attomey, and that's the answer,
10° answer. 10 MR. EPP: I'l] state an objection on the
11 A. [refuse to answer it then. 11 record that this is attorney-client privileged
12 Q. Let me rephrase it and see if I can make it 12 information, That will be an ongoing objection
13. more acceptable. 13. on that line;
14 Do you have any evidence that either you 14 Q. Is it your position that your calculation of
13 or your business has been specifically damaged 15 damages is attorney-client privilege?
16 by the ProBush.com website? 16 A. Our discussions in calculating damages is
17 A. That's something I don't have to prove. 17 privileged. .
18 Therefore, I will not answer that question. 18 Q. I'm not asking to know your discussions. I'm
19 Q. I think I'm entitled to get an answer on that. 19 asking to know how your damages have been
20 MR. EPP: Well, call the Judge. 20 ~—caleulated,
21 MR. PARSON: Let's not call the Judge. 21 A. Answering the question would be divulging the
22 MR. EPP: Why don't you move on, and we 22 discussion tiny attorney and I had.
23s can discuss this later, 23 MR. PARSON: You're not going to tell me
24 MR. PARSON: All right. Good idea. 24 how you calculated your damages?
25 Q. On your damages claim in your Complaint on 25 MR. EPP:: My client testified it was done

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1 in an attorney-client situation, and we have 1 issues?
2 made an objection that it's attorney-client 2 A. I'm an activist on a lot of issues, some
3 privileged communication. So you can keep 3 important, some not,
4 asking. He'll give you the same answer. Or we 4 Q. You've never been one to shy away from
§ can move on and discuss how we want to handle 5 publicity?
6 these objections following the deposition. 6 A. I'm very modest sometimes. Sometimes I'm not.
7 Q. Exhibit 2 is your affidavit? 7 Q. At least you've never been afraid to give your
8 A. Yes. 8 opinion when you think it's important.
9 Q. Paragraph 3, and this is your signed 9 A. That's true, yes.
10s Statement. 10 Q. Would you agree you kind of have a place in
11 A. Yes. 11 society where you have a bully pulpit that not
12 Q. Paragraph 3 says, "I have never been accused 12. everyone, hot every average American may have?
13. of, charged with, or convicted of the crime of 13 A. I don't know, I can't really answer that yes
14 treason by any state or by the United States of 14 orno |
is America." That's true? 15 Q. Let's take'a look at the website here. Exhibit
16 A. Yes, 16 4 is what ] believe what you would see, at
17 Q. Obviously. Do you believe that ProBush.com has 17 least as of the date this was printed, the
18 accused you, charged you with, or convicted you 18 opening page of the website.
19 of the crime of treason? 19 When you saw it, did you see this page or
20 A. They've charged me with being a traitor, which 20 something like it, or did you go straight to
21 sis. a crime of treason, yes. 21 the Traitor List? Did you click through some
22 Q. The next one is your attorney's Affidavit. It 22 ‘things, or do you remember?
23. __— states, Paragraph 3, "On or about April 22, 23 A. You know, I really don't recall to answer
24 2003, 1 became aware of the ProBush.com website (24 that. ] eventually got to the Traitor List,
25 from my client, James G. Abourezk." That would |25 but I don't know what I did before that.
Page 18 Page 20
1 be approximately when you discovered the 1 MR. EPP: Ron, in asserting this, this is
2 website, or would that refresh your 2 what you believe Senator Abourezk saw the first
3 recollection as to that? 3 time he viewed the site?
4 A. I believe I discovered it before this date, but 4 MR, PARSON: No.
5 then I discussed it with my attorney at some 5 MR. EPP: The date stamp, at least when
6 point after. I don't know if this is a correct 6 this was printed out, apparently is June 27,
7 ~~ date or not. 7 2003, andithere's a mention on the first page
8 Q. It states that, "Senator Abourezk as well as a 8 to donate to ProBush.com's legal battle.
9 number of other prominent Americans were listed 9 Apparently part of it's concerning James
10 on the site's Traitor List." Would you agree 10 Abourezk, So this would come sometime, I'm
11s: you are a prominent American? 11 assuming sometime after the first publication
12 A, Well, I don't think that's for me to say. 12 of the website?
13. That's a judgment for other people. 13 MR. PARSON: That's correct, yes. Not
14 Q. Do you have any opinion on whether or not 14 asserting that this is definitely and obviously
15 - you're a prominent American? 15 not exactly what was there when he first saw
16 A. I don't. 16 it, although some of this is kind of permanent
17 Q. Do you dispute that you are a public figure? 17 content that may have been very similar in
18 A. Well -- i8 structure.
19 MR. EPP: Objection, calls for a legal 19 Q. The next gne is what's called the Patriot
20 ~—s conclusion. 20 ~~ List.
21 A. I neither admit or dispute it. That's a legal 21 A. Is that No; 5?
22. conclusion I can't make. 22 Q. No. 5, Exhibit 5. Do you remember locking
23 Q. Do you believe you're famous? 23 through this?
24 A. 1 don't think I'm famous, no. 24 A. You know, I don't remember seeing this ever. I
25 Q, Do you believe you are an activist on important 25

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see Bill O'Reilly and Ann Coulter on it and
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I Rush Limbaugh. 1 the word "traitor," not on any other allegation
2 Q. Does it appear to you these are generally 2 in the document, as far as you're concerned?
3 Americans or others of a Republican or 3 A. I don’t seejany other allegations in there,
4 conservative point of view, a right point of 4 except if you're a traitor, you're guilty of
5 view? 5 treason. Right? So that follows that that
6 A. Well, some of the names I recognize as 6 would be a definition that applied.
7 conservative, what you'd call conservative, 7 Q Do you think there's room in the United States
8 Rush Limbaugh is also a drug addict, on top of 8 for vigorous debate in which people are calling
9 being a conservative, 9 each other names like this?
10 MR. EPP: Ron, I have a question on 10 A. Not if you call somebody a traitor, no.
11 Exhibit 5, the first page. There's a number of 11 Q You start being someone who would in most
12 things blacked out. What's been excised? 12 contexts be a supporter of First Amendment
13 MR. PARSON: I blacked those out when I 13. rights. Is that true?
14 filed this. People can request to be on the 14 A, Say that again.
iS list, and these are just names that -- 15 Q. You strike me as someone who in most contexts
16 THE WITNESS: They're supposed to be in 16 would be in favor of First Amendment rights, to
17 the Patriot List? 17 speak your imind.
18 MR. PARSONS: Yeah, 18 A. With the exceptions that are in the law, yes.
19 MR. EPP: So this is not a true and i9 Q. But you believe it's the use of certain words
20 correct copy of that website? 20 that should trigger hability?
21 MR. PARSON; That's right. Not purporting 21 A. Well, you Know, was it the Supreme Court said?
22 to be, although what is here is on the website, 22, You can't yell fire in a crowded theater.
23 but there are things blacked out. These were 23. That's an exception to that, to your personal
24 names of people who are not famous, I would 24 _—srright of frea speech.
25 Say. 25 There ar¢ other exceptions. I think
Page 22 Page 24
1 Q. On the Traitor List then, as I understand it, 1 calling somebody a traitor, which is a capital
2 the disclaimer at the top of the Traitor List 2 crime, I think that's an exception, too. I
3 that’s here now on this version, we'll find out 3 don't think you should be allowed to do that.
4 tomorrow when the Marinos are deposed for sure, 4 Q. Have you ever called someone a traitor or
5 but as I understand it, this was down somewhere 5 accused them of treason?
6 near the bottom, something like this, so it was 6 A. Not in my memory.
7 not at the top. 7 Q Have you ever heard someone call President Bush
8 But do you recall when you looked at that 8 a traitor or President Clinton or --
9 whether you saw these first -- does this track, 9 A. I've heard them called other names, but not
10 these first three lines here in the definition 10 traitor,
11 of treason, definition of traitor, and "Get to 11 Q Do you believe if someone called President Bush
12 know your traitor," do you remember, is that 12 a traitor, that he should be able to bring a
13. what you saw or about what you saw? 13. civil lawsuit against that person?
14 A. It seems that. The one I remember is, 14 A. If that's his desire, yes, I think so.
15 "Traitor: If you do not support our 15 Q. Exhibit 7 is the next one. This is the Not In
16 President's decisions, you are a traitor." 16 Our Name Petition. Tell me about how your name
17 That's what I remember. The other ones I'm not 17 came to be gn this petition. When did you
18 clear about. 18 first hear about it?
19 Q. Traitor then, as the list is defined, states, 19 A. I can't remember the date. I know that I think
20. "If you do not support our President's 20 ‘it was on the Internet, that the Not In Our
21 decisions, you are a traitor." Does that 21 Name groupiwas asking for signers on the
22 anywhere accuse you of being a criminal? 22 statement aghinst the Iraq War, and I signed.
23 A. I'm accused of being a traitor. That follows, 23 Q. Your name ig second from the top. It looks
24 —soyes, 24 ‘Tike it's alphabetical. It doesn't necessarily
25 Q. So the claim is just based simply on the use of 25

mean the order of importance or chronology.

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1 A. I'd hope not. 1 Q. Do you set > that going both ways sometimes? Do
2 Q Why did you sign this? 2 you see people who support the President or try
3 A. Because I'm against the war -- I'm against 3 to support!the President or attack people who
4 invading Iraq. I'm against the war in Iraq. 4 attack him)? Do you see them being branded or
5 Q. Did you read the entire petition before you 5 labeled?
6 — signed it? 6 A. Well, it's kind of an imbalance of power. You
7 A. I probably did. I don't remember, but I 7 have Bushias President. You have a Republican
8 probably did. 8 Senate, Republican House. It’s very difficult
9 Q. Did you know it was going to be published in 9 to say they’ re in the minority.
10 the New York Times? 10 What mostly I think of as branding people
il A. I did. il ma McCarthyist type of situation is
12 Q. USA Today, Los Angeles Times? 12 dissenters who speak out who are in the
13 A. Yes. 13. minority. It" s hard to think of people who
14 Q. Did you understand this was going to gamer 14 support Bush i in that context.
15 worldwide publicity, most likely? 15 Q. Okay. Dotyou believe the Irag war was illegal?
16 A. Well, I was hoping it would, 16 A. I do, yes. |
17 Q. It states here, one of the things that struck 17 Q. Would that be accusing the administration of
18 me, "We believe that questioning criticism and 18 committing a crime?
19 dissent must be valued and protected." You 19 A. I do think that it's illegal. I don't know if
20 certainly believe that, 20 that's a crime, but I know it's illegal, To me
21 A. Yes. 21 the Constitution says if you want to start a
22 Q. But do you believe it goes both ways, that the 22 war, you declare war. You have Congress
23 eriticizers themselves must subject themselves 23. declare the'war. The reason that's in the
24 ‘to counter-criticism? 24 Constitution is because the public ought to be
25 A. Well, having spent a number of years in 25 __ entitled to have a voice in whether you go to
Page 26 Page 28
1 politics, I've always understood that I would 1 war or not,
2 get criticism for my positions, but I never 2 In this case I don't think they did. That
3 expected to be called a traitor to my country, 3. wasn't a declaration of war. I think the
4 Q. The website itself, though, did that ever 4 President stampeded the Congress into thinking
5 actually use the word "traitor to your country" 5 we're under threat from nuclear attack, People
6 or did it just say "traitor"? 6 were frightened. Therefore, majority of the
7 A. Whatever it says. It speaks for itself. 7 members of Congress voted to support the
8 Q Tell me, I've seen in some of the things you've 8 invasion of Iraq, which I think was a big
9 written, the phrase "new McCarthyism," that 9 mistake. -
10. phrase. Does that ring a bell? 10 Q. When people accuse the administration or any
lt A. Yes. 11 administration, this or any, of committing
12 Q. Tell me what that means. 12 illegal acts and violating the Constitution, do
13 A. Do you know what the "old McCarthyism" was? 13. you think they should be entitled to defend
14 Q. In the '50s. 14 themselves jby filing lawsuits against the
15 A. I refer to that, yes. Where if you disagreed i$ protestors?!
16 with the government, you were back in those 16 A. Certainly, yes.
17 days they called them communists, which was 17 Q. Did you talk with Jane Fonda or Professor
18 understood to be a treasonous activity. It 18 Roxanne Dunbar-Ortiz before you signed this
19 heaped scorn upon anybody who disagreed with 19 petition?
2 the establishment back then. 20 A. No. I corresponded with them by e-mail, but I
21 The new McCarthyism is roughly the same 21 never talked to them.
22 thing, that if you disagree with the policies 22 Q. Are you fri¢nds with Miss Fonda?
23, of President George W. Bush, and if you're 23 A. Yes, I am.
24 called a traitor, to my that's the new 24 Q. And Professor Dunbar-Ortiz?
25. McCarthyism, yes. 25 A. I've never met her, but I've met Miss Fonda.

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1 Q. How would you describe the public manifestation ! Q Tariq Aziz was the foreign minister of Iraq?
2 of your opposition to the Iraq War before we 2 A. No, he was -- I don't know what he was. He was
3. invaded? I mean that's a poorly worded 3. one of the leaders.
4 question, 4 Q. Secretary df State equivalent.
5 A. I don't understand it. 5 MR. EPP: I think he was foreign
6 Q. Tell me what you did to mobilize opposition to 6 minister.
7 the Iraq War before we invaded. 7 A, At one point he was. I'm not sure if he was at
8 A. I made several speeches around Sioux Falls. I 8 this point. Maybe he was deputy prime
9 organized a group of former U.S. Senators who 9 minister, something like that.
10 eventually came up with this statement that we 10 Q. Representing Saddam Hussein on behalf of Iraq
11 issued publicly. 11 at that time.
12 Q. That's Exhibit 8? 12 A. TL assume s6, yes.
13 A, That's Exhibit 8. 13 Q. Did you algo meet with the head of the Iraq
14 Q. These are all former United States Senators 14 Parliament? I think I read that somewhere.
15 from both parties? 15 A. Give me his name.
16 A. Yes, 16 Q. Is it Hammadi?
17 Q. What was the intent of organizing this group? 17 A. Saadoun Hammadi, yes. Actually he was somebody
18 A. To try to mobilize public opposition to the 18 Emet years before that, He's a graduate of
19 invasion of Iraq. 19 the Univergity of Wisconsin. He got his Ph.D.
20 Q. Would you agree the decision of whether or not 20 from Wisconsin University.
21‘ to invade Iraq is probably one of the most 21 Q. Interesting,
22 ~— significant of the last generation? Is that a 22 A. He used to:be foreign minister when I first met
23 fair statement? 23 him in the 1980s.
24 A. Yes. I think it's the issue of our 24 Q. So when was this in terms of when we actually
25. generation, 25 invaded? Days before?
Page 30 Page 32
1 Q. Can you think of a more divisive and important 1 A. September:of 2002. We invaded in March of
2 question that’s faced the United States since 2 2003, if I recall.
3 the Vietnam War? 3 Q. So this wag several months before we actually
4 A. Ican't. 4 invaded. |
5 Q. It would be fair to say that you were intent on 5 A. Yes. In fact, the Iraqis did let the weapons
6 doing what you thought was right with regard to 6 inspectors come in.
7 that situation. 7 Q, I saw that jn one of the articles describing.
8 A. Well, my intention was to try to prevent the 8 Do you believe it was your conversations, your
9 invasion of Iraq, keep us out of the war. 9 delegations, meetings and conversations with
10 That's my intent. 10 these Iraqiileaders that may have actually led
11 Q. And you were intending to act publicly in 11 to their decision to declare their amenability
12. whatever legitimate way you could to do that. 12‘ to having inspectors come in?
13 A. Correct. 13 A. I think it was a major part of it. I don't
14 Q. Was your voice heard by anyone? 14 think we were alone in it. I think the UN.
15 A. Not very many people apparently. 15 was also pushing them and other -- Nelson
16 Q. Tell me about going to Iraq before the t6 Mandela was pushing them to do the same thing.
17s invasion. 17 I think thefe were a lot of people involved.
18 A. I went because I wanted to prevent a U.S. - 18 But they did it I think one day after I
19 invasion of Iraq, and ] went to ask the Iraqi 19 asked him ‘to do so. They allowed the weapons
20 government, and ] met with Tariq Aziz, and I 20 inspectors :to come back in.
21 — specifically said to him, "Please remove the 21 Q You grew up in South Dakota. Correct?
22 excuses for Bush invading Iraq, because he 22 A. Yes.
23 wants to invade, Please remove the excuses by 23 Q. This is ong of the, I think we agree, one of
24 ~— allowing the weapons inspectors to come into 24 the most itmportant issues of our time, and
25 Iraq." 25 —s- you're a kid from South Dakota, and you are in

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1 the Middle East in the center of this entire 1 Middle East?
2 important issue. Is that a fair statement? 2A. Yes.
3 A. Well, I'm not a kid. I'm 73 years old. 3 9. Do you speak with them regularly?
4 Q. But grew up in South Dakota. 4 A, Not regularly.
5 A.ldid. 5 Q I've been to your office. I don't know if you
6 Q. Meaning it's impressive that -- what I'm trying 6 remember, when I was in law school I did some
7 to establish is you are having a major affect 7 legal research for you.
8 on world events from South Dakota. 8 A. You did some research for me, yes.
9 A. Well, I don't know how to answer that. 9 Q. So I've been to your office, and I remember all
10 Q. Would you agree that you had an affect on world 10 the photographs on the wall, you with all the
11 events? 1:  important/leaders.
12 A. Well, if, indeed, it was my work that got the 12 A. Including Mohammed Ali.
13. Iraqis to let the weapons inspectors in, which 13 Q. Mohammed Ali was the good one, the best one. I
14 did absolutely no good, anyhow, I guess but 14 know youlre not going to answer the question of
15 that's what happened. That's all I can say 15 whether of not you are a public figure, but is
16 — about it. 16 it safe to gay that you are someone who rubs
17 Q. It depends on one's point of view whether it 17 elbows with some of the most important figures
18 ~— did arry good, I guess. 18 of our time?
19 A. It didn't do any good. It didn't prevent the 19 A. I don't think that's safe to say, no.
20 invasion. 20 Q. You would disagree with that?
21 Q. It didn't prevent the invasion. What did they 2i A. Well, yeah. Whether people I meet with are
22 tell you about weapons of mass destruction when 22. important‘or not, I don't know. That's open to
23. - you were there? 23. discussion.
24 A. Said they didn't have any. I guess he was 24 Q. Did you view the ProBush.com website calling
25 ~— right, too. 25. +youa traitor or putting you on the Traitor
Page 34 Page 36
1 Q. Who went with you to Iraq? I saw Congressman 1 List as impugning your patriotism?
2 Rahal. 2 A. Oh, yes. |
3 A. Yes. 3 Q. Is it a crime to impugn somebody's patriotism?
4 Q. He was a sitting Congressman? 4 A. If you call them a traitor, if you accuse them
5 A, From West Virginia, yes. 5 of acrime, yes, that's wrong. I was accused
6 Q. Who else? 6 of a crime.
7 A. Warten Strobel from Knight-Ridder. 7 Q I'm looking at Exhibit 9, the second page. Is
8 Q. Journalist? 8 this an article you authored?
9 A. He was a journalist. There were several 9 A. Yes,
10 journalists. There was somebody from National 10 Q. I'm sorry, the third page.
11 Public Radio. I can't remember the guy's 11 A. There's nothing in the third page.
i2 name. Let's see, Norman Solomon from the 12 Q. No, second page. I'm sorry. The last
13 Institute for Public Accuracy. 13. paragraphisays, "The question of patriotism
i4 Q. I think I read something about him. 14 should not be aimed at those who oppose the
15 A, There are probably a couple others, but I can't 15 aggressive devastation of a small Third World
16 temember. 16 country, but at those in the Bush
17 Q Where else? Did you just go to Baghdad? Did 17. administration who seem to delight in the
18 you go to other governments? 18 prospect df the annihilation of innocent Iraqi
19 A. We stopped in Damascus both ways. 19 civilians."
20 Q. What did you do there? 20 Are you impugning the patriotism of people
21 A. 1 can't remember if I met with the President of 21. in the Bush administration?
22. Syria or not. I can't remember that now. I've 22 A. No, I'm not actually. I'm impugning their
23 met with him a number of times. It's possible 23 motives, which I think are very bad motives.
24s I did. 24 Incideritly, I said, "Their plan will
25 Q. Is it true you know many of the leaders in the 25 ~~ devastate our own economy.” I guess I was

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1 right about that, wasn't 1? "And destroy the 1 clear this is a parody, these people are not
2 moral values by which we have lived since the 2 legal traitors, why wouldn't that be effective
3 founding of this country." I think I was right 3 im removing any doubt as to what the purpose of
4 about that, too. 4 the --
5 Q. Do you think it's unpatriotic to criticize 5 A. It seems to me they didn't put that up until
6 people who criticize the President? 6 after they were sued. It wasn't on the website
7 A. No. 7 before they were sued.
8 Q. This is what J was talking about carlier, 8 Q. I think this letter is before they were sued.
9 Exhibit 11. "Although Aziz seemed a bit 9 A. Or they were threatened suit, I should say,
10 negative in responding to us, two days later 10 Honestly, I don't remember what date they were
11 his government announced that inspectors could 11 sued,
12. come in without conditions." 12 Q. If the testimony shows or the evidence
13 A. Where are you at? 13, ultimately shows this disclaimer was there in
14 Q. At the bottom. 14 some form from the inception, why wouldn't that
15 A, Yeah. Actually what he said, he was arguing 13 language saying, “Hey, this is a parody. These
16 against the idea of letting weapons inspectors 16 people are not legal traitors." Why wouldn't
17 im. He said the weapons inspectors demanded 17 that clear up whatever doubt anyone would have
18 they be able to go into the palaces. We were 18 about what the purpose --
19 against that for a long time. Finally we let 19 MR. EPP; Objection, facts not in
20 them come in. What did they do? They brought 20 evidence. Objection, calls for a legal opinion
21 global positioning systems in with them to 21 by the witness.
22 —s create targets out of palaces. 22 A. 1 can't answer that question.
23 Q The U.N. inspectors? 23 Q. Did you understand the disclaimer when you read
24 A. Yeah. Basically the allegation was that they 24 it?
25 were a bunch of spies, the first bunch of 25 A. I understood what they said. It looked to me
Page 38 Page 40
1 inspectors that left in 1998. That was one 1 like the authors of the website were trying to
2 argument he was making against allowing them to 2 _- weasel out of some legal trouble they might be
3 come back in. I think I said, "I don't care. 3 in because pf calling people traitors. That
4 The idea is if you want to avoid an invasion, 4 much I understood.
5 which I want to avoid, let them come back in. 5 Q. A lot of thdse are kind of just the same
6 Let them inspect." 6 thing. Another meeting or article about the
7 Q. And they did, 7 delegation. | Was that the only delegation you
8 A. And they did for a time, 8 led regarding the Iraq War?
9 Q. Did you know Saddam Hussein? 9 A. Yes.
10 A. No, I never met him. 10 Q. Did you have any -- did you do any other media
11 Q. Exhibit 12 here, this is sort of a press 11 interviews, that type of thing, to express
12 announcement about your visit. 12. Opposition to invading Iraq?
13 A. This is put out by Institute for Public 13 A. I probably did. I'm not able to remember what
14 Accuracy. 14 exactly.
15 Q. Exhibit 13 we looked at, the first e-mail from iS Q. You certainly wrote articles, and we've seen
16 Todd in April of 2003. Then he follows up with 16 some of thase.
17 a letter, Exhibit 14. It states here, this is 17 A. Oh, yes.
18 May of 2003, Page 2, "Though you have attempted |18 Q. Were you i consultation with leaders of
19 to disclaim this defamation, it is my opinion 19 countries around the world about their
20 that this attempted disclaimer is ineffective 20 positions on invading Iraq?
21 and meaningless," 21 A. No. .
22 At least by this date you had seen the 22 Q. Were you part of any organizations that were --
23 disclaimer, 23 ‘that shared your dedication to preventing an
24 A. Well, at least Todd had, if I hadn't, 24s invasion? _
25 Q. Why would a disclaimer that said, that makes it 25 A. Well, Not Im Our Name.

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1 Q. Not In Our Name, 1 trip, too. I just remember, I see his name
2 A. I signed on to their ad. I assume that makes 2 down here.
3 ‘me part of their organization. 3 Q Conscience International. Okay.
4 Q. Any others? 4 A. He had been to Iraq a number of times.
5 A. You know, I don't think so, but I'm not going 5 Q. What is the Institute for Public Accuracy?
6 to be positive on that. I just can't remember 6 A. T don't know. It's a public institute. 1
7 if I belonged to any other organizations like 7 ~~ don't really know much about it, except I know
8 that. 8 the two gutys that work there.
9 Q. Exhibit 16, the headline here, I got this off 9 Q. Exhibit 18, I think this is your official
10 the Internet, Lebanonwire.com. "Former U.S. 10 Congressional biography. I assume this is all
11 Senator calls for change in U.S. policy." That li accurate information in here?
12 is what you were doing, calling for a change in 12 A. Well, do you want me to read it and tell you?
13. ~US. policy? 13 Q. If there's any mistakes, I would like to know
14 A. Yes. 14 iit,
15 Q. Do you know what Lebanonwire is? 15 A. Pardon me?
16 A. I don't, 16 Q. I would like to know if there's something
17 Q. It says, "Live news direct from Beirut." Did 17 wrong, incprrect.
18 you know your statements on the Iraq War were 18 A. It's accurate as far as I can tell.
19 being heard and reported in the Middle East? 19 Q. "Advise and Dissent" which I have read and
20 A. I don't know, but I assume they would be. This 20 thought was very interesting, and then there's
21 was before the invasion, This is before I went 21 another book you authored called "Through
22 to Iraq. 22. = Different Eyes."
23 Q. That's right. So this had nothing to do with 23 A. Yes, coauthored with Hyman Book Binder.
24 the invasion. This had to do with Middle East 24 Q Advise and Dissent is kind of a memoir,
25 policy. 25 A. Yes. .
Page 42 Page 44
1A. Yes. 1 Q. What's Thitough Different Eyes?
2 Q. Even prior to the threat of an invasion of 2 A. It's a debate on the Israeli, Palestinian
3 Iraq, you've been an advocate for certain 3 conflict, debate in print.
4 policy positions with regard to the Middle 4 Q Published ih 1987.
5 Hast. 5 A. Yes. :
6 A. Yes. 6 Q. Are those the only two books you've written?
7 Q. Do you consider yourself well-known in the 7 A. Yes.
8 Middle East? 8 Q. I saw one other thing, I think J have it in
9 A. In parts of the Middle East probably, yes. 9 here, something you either wrote with
10 Q. More so than in the United States? 10 Pettigrew, I hadn't heard this before. Exhibit
11 A. Oh, yes. 11 21. ds that Imperial Washington?
12 Q. I bought one of your wife's cookbooks. 12 A. No, I didn't write that with Pettigrew.
13 A. How does it work? 13 Q. Did you dovan introduction?
14 Q. I gave it to my mom. She likes it, 14 A. I may have. It's a republication of
15 A. You should get the other one, too. 15 Pettigrew's ibook. He died in the 1920s.
16 Q. Does she have a new one? 16 Q. Yeah, I was, going to say. He was the original
17 A. Middle East Cookbook. It's in her restaurant. 17 Senator Pettigrew,
18 Q. My mom likes the soy one. 18 A. Yes, he was| Senator Pettigrew. I think I wrote
19 Institute for Public Actors, Exhibit 17. 19 an introduction to it.
20 That was on one of these previous documents, 20 Q. I want to look at this one, 19,
21. Norman Solomon. What is that? Is that 21 A. Okay.
22 something you are affiliated with? 22 Q. Second to last page, down at the bottom, and
23 A. I'm not. I know Norman Solomon, and I know 23 this is an article that you wrote or a speech
24 Sam Husseini, both of whom work for the 24 you gave. Do you remember what this is?
25___ Institute. Oh, Jim Jennings was along on that 25 A

_It'sa speech I gave,

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1 Q. It says, "Biblically, Judas Iscariot was the 1 Board. I'm curious what that was.
2 man who betrayed" -- 2 A. I don't evan remember, | just saw that.
3 A. Where are you? 3 Q. John Anderson is on there. It seems like it
4 Q. Down at the bottom. "Was the man who betrayed 4 would be a while ago.
5 Jesus. In more modern times, farmers have 5 A. It was some time ago.
6 placed what is known as a ‘Judas goat" to 6 Q. Because didn't he die?
7 entice other animals to come into their trap. 7 A. I'don't know.
8 Our community, in an effort to define 8 Q, I think he did pass away.
9 ourselves, must be wary of Judas goats placed 9 A. [haven't heard from him for a long time.
10 an our midsts in an effort to end our reliance 10 Marjorie Mezvinsky, she used to be on Channel 7
11 on our principles." 11 in Washington, D.C... She married Congressman
12 Judas goats is kind of a colorful phrase 12 Ed Mezvinsky, who was later convicted of
13 that you're using to describe someone who might 13. embezzlement or some strange crime like that,
14 betray somebody. Is that true? 14 Q. This I sort of enjoyed, Exhibit 24. "I'll Hold
15 A. Yes. 15 My Nose With One Hand and Vote For Clinton With
16 Q. Would you agree that traitor is also a colorful 16 the Other."
17 phrase someone could use to express the very 17 A. Tremember writing that,
18 same conflict? 18 Q. Here again, I'm setting the same trap for you.
19 A. No. 19 On Page 2 it says, "The Republicans are furious
20 Q. Exhibit 20, Progressive Media Project. Did you 20 as they watch him, every day, steal their
21 —_-write this regarding your visit to Iraq? 21 issues." Now, stealing is a crime. Right?
22 A. Yes, I did. 22 A. Well, stealing property that belongs to
23 Q. What is the Progressive Media Project? 23. somebody else. I'm not sure an issue would be
24 A. I don't know, 24 considered property,
25 Q. They just published it. 25 Q. Intellectual property.
Page 46 Page 48
1 A. Yeah. 1 A. I didn't say this was intellectual.
2 Q. Okay. 2 Q. That's probably right.
3 A. I think it has to do with the Progressive 3 A. Probably not.
4 Magazine, but I'm not sure about that. 4 Q. Again, though, do you see the point that --
5 Q Would you agree you're considered a hero in 5 A. I don't see your point. I'm Sorry.
6 many progressive circles in the United States? 6 Q. You don't s¢e the point that using language
7 A. Ican’t say yes or no to that. I don't know, 7 Tike stealing, being a traitor can be a
8 Q, Remember you are under oath here. Are you a 8 colorful way to express an idea that is not
9 vegetarian? 9 necessarily criminal?
10 A. Yes. 10 A. It depends of what you're talking about. For
1! Q. I saw this. I saw that it says famous 1! example, you say he's stealing home base or
12 vegetarians. 12 stealing second. It's not a crime in
13 A. I'm a lacto-ovo vegetarian, if that makes a 13. baseball.
14 difference, 14 Stealing igsues is not a crime, It's a
15 Q. That means milk and dairy. 15 political crime, but not a criminal crime.
16 A. Yes, 16 Q. Exhibit 25. -
17 Q. Under politicians, statespersons and activists, 17 A. Thad a lot of hair in this picture.
18 we have, among others, Mahatma Gandhi, Susan B. |18 Q. "The loneliest man." Is that something you
19 Anthony, and James G. Abourezk. That's pretty 19 were called?
20. good company. 20 A. I don't remember that, no,
21 A. That's good company. 21 Q. On the second page it states, "You've argued
22 Q. Would you deny you are a famous vegetarian? 22 that they're ih collusion" -- talking about oil
23 A. I deny I'm famous, but I admit I'm vegetarian. 23. and gas companies. "You've argued that they're
24 Q. Exhibit 23. It says you are on the advisory 24 in collusion with the government, currently
25_ board, Public Campaign's National Advisory 25___ perpetrating a collective rape of the American

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1 consumer of a magnitude unknown in our 1 people that are there.
2 history." 2 Q. The next page, Page 142. The middle sentence
3 Rape is a crime. 3 that starts off or paragraph that starts off
4 A. Rape of women is a crime, yes. Rape of 4 with "Ted Kennedy." Bottom of that paragraph
5 American consumers obviously is not looked upon | 5 says, "Given our anger at Carter and Mondale
6 as a crime, because a lot of it goes on, and 6 for what we saw as their treachery, it seemed
7 nobody goes to jail as a result of it. 7 like a reasonable thing to do." What was their
8 Q. Were you actually accusing oil and gas 8 treachery they had done?
9 companies of committing the crime of rape? 9 A. Well, L explain it in the book, that Carter
10 A. Well, what I'm accusing, was accusing the oil 10 started out on our side and switched.
11 companies of is taking the money from the 11 Q, On deregulation or --
12. public with the government in collusion. 12 A. On gas detegulation, yes.
13 Q But that's not rape, 13 Q. Just tell me two sentences on what was the
14 A. Well, that's a figure of speech. 14 issue on that.
15 Q. So the answer would be you were not accusing 15 A. Well, they, were trying to deregulate the price
t6 them of actually committing the crime of rape. 16 —oof natural! gas. | was trying to stop it.
17 True? 17 Q. In other words, there were fixed prices?
18 A, Not rape against women, no. It should be 18 A. Price conttols on natural gas, yes. Had been
19 consumer, which would be both men and women. 19‘ there sincé the 1930s.
20 Q. But that's the word you selected. 20 Q. They actually removed them?
21 A. All right. 21 A. They were trying to remove them when I
22 Q. Can you understand how someone, in order to 22 filibustereid, yes.
23‘ express their dissatisfaction with your public 23 Q. Do we still have those?
24 positions, might select an equally colorful 24 A. No, no. They were lifted, because Carter sent
25 word or inflammatory word like traitor? 25 Mondale yp to preside over the Senate. I had
Page 50 Page 52
1 MR. EPP: Objection. He can't know what 1 some 308 amendments. It was an amendment
2 others think. 2 filibustering I was doing. Mondale was
3 A. Ican't know. 3 presiding, ‘and presumably under orders from
4 Q. But can you understand why? 4 Jimmy Carter, who had been on our side to begin
5 A. No, 5 with, started ruling the amendments out of
6 Q. This is a part of your book, Exhibit 26, Page 6 order. They were called up by a Senator Byrd,
7 141, The book is Advise & Dissent. Is it true 7 one by one, and ruled out of order. I tried to
8 you called Jimmy Carter a liar? 8 get recognition to protest, and he would never
9 A. What I said was during my entire adult life I 9 recognize ine,
10 knew that governments lied, but I never thought 10 I have to say that even Senators who were
1! that Jimmy Carter would lie, Those are my 11 — pro-oil company, pro-gas company were objecting
12. words. You can do that on the Senate floor, by 12 then, becatise they saw the damage being done in
13. the way. 13 the Senate!by that procedure.
14 Q. That's true. Lying could be perjury, which 14 Q. By the stopping of the --
15 could be a crime. 15 A. By wrecking the rules of the Senate.
16 A. If you do it under oath, yes. 16 Q. In calling them, the same trap I'm trying to
17 Q. But there's a privilege on the Senate floor 17 catch you in, but in calling them what you saw
18 against any libel claims. 18 as their treachery, isn't that a synonym for
19 A. That's night. 19 traitor, treason?
20 Q. What's the purpose for that? 20 A. Well, I didn't use that term with respect to
21 A. Of what? 21 ‘their loyalty to the country. As I explained
22 Q. For that privilege? Why should there be more 22‘ to you, Carter started out on our side and then
23. —s~protection for politicians? 23 switched sides.
24 A, I don't know, I don't know how that came 24 Q. But he had been -- it was a betrayal in your
25 about. Probably a lucky thing for a lot of 25° view.

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1 A. Oh, yes. 1 MR. EPP: Let me clarify. What kind of
2 Q. So couldn't you figuratively call him a 2 things are'you talking about?
3 traitor? 3 Q I'm assuming, I don't know what there would
4 A. But he wasn't a traitor to his country. 4 be, IT mean do you have any evidence -- do you
5 Q. Not to his country, but couldn't you 5 have any documents of any kind, and I don't
-| 6 figuratively call him a traitor for doing that? 6 know what they would be, that demonstrate that
7 A, But not to his country. The answer is no. My 7 his statements on the ProBush.com website are
8 answer is no to that question. 8 factual falsities rather than just mere insults
9 Q. Do you beheve that your criticism of the 9 or opiniori?
10  admunistration regarding its Iraq policy and 10 A. I'll answer that part. I didn't understand
11 ProBush.com's statements on its websites to 11 your question at first. Calling me a traitor
12. eriticize you, do you believe they affect 12. is factually false.
13. matters of public concern and policy? 13 Q. Do you have any documents or -- ] understand no
14 A. I don't know. I don't know the answer to 14 one -- I want to make this clear, No one is
15 that. It's not for me to say. 15 contending that you are a legal traitor to the
16 Q. Have you visited any doctors or mental health 16 United States Government or have committed any
17. professionals to deal with any problems caused 17 crime whatsoever. That's our position.
18 by these statements on the ProBush.com website? 18 But do:you have any documents, and I'm
19 A. | won't answer that question. 19 guessing you don’t but I'm wondering, that
20 Q. I'm entitled to know that. Are you claiming 20 demonstrate that what's on the ProBush.com
21 any type of emotional, physical injury? 21 website is: factually false as opposed to being
22 A. Don't need to talk about damages. 22 merely an insult?
23 Q. I'm entitled to get into damages, if you're 23 A. Well, I would say there's an absence of
24 claiming damages. 24 documents proving the truth of their
25 A. I'm refusing to answer. 25 statement: I'm not, never been accused of
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1 MR. PARSON: If I can ask your attorney. 1 being a traitor formally. I've never been
2 Are you claiming? I haven't seen it in your 2 charged with it, never been tried or
3 Complaint. My assumption is you're not 3. convicted;
4 claiming any physical, emotional injuries 4 Q. Did you ever, prior to seeing this website, did
5 resulting from this. 5 you have any idea who the Marino brothers were?
6 MR. EPP: We have not put Senator 6 A. No. :
7  Abourezk's mental state into issue, mental 79. Absolutely no conversations with them?
8 condition, if you will, 8 A, No.
9 MR. PARSON: Or emotional injury. True? 9 Q. Do you know anything about them at all, other
10 THE WITNESS: Not required to. 10 than what! you read in this lawsuit?
11 MR. EPP: Not required to. It's up toa 11 A. No.
12 jury to determine. {2 Q. Do you know why you were placed on the website?
13 MR. PARSON: Just verifying, though, that 13 A. I don't know.
14 your claim is based on a libel per se claim and i4 Q. Do you know whether or not they knew who you
15 not emotional, physical damages. 15 were when you were placed on the website?
16 MR. EPP: I guess I answered that we have 16 A. I don't know. I assume they must have known or
17 not disclosed a medical expert at this time or 17 wouldn't have put my name on there. That's an
18 counseling expert. 18 assumption. That's all I can say.
19 Q. Do you have any documentary evidence, I'm just 19 MR, PARSON: I think I'm entitled to know
20 asking, that demonstrates the statements in the 20. what your damages calculations are, if any. If
21+ “-ProBush.com website are factually false as 21 it's ~~ a libel per se is a calculation of
22 opposed to merely being opinions or insults? 22 damage, That's what your Complaint states, and
23 A. I don't have an answer to that question, 23. if that's what it is, then I accept that and J
24 Q. You're not aware of any documentary evidence? 24 — don't need to go any further. But if you are
25 A. I don't have an answer to that question. 25 ~—s claiming individualized damages, I'm entitled

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1 to know what those are and how they're 1 STATE OF SOUTH DAKOTA )
2 calculated. Do you want to confer at all with 2 SS. CERTIFICATE
3 Jim on this? 3. COUNTY OF MINNEHAHA }
4 MR. EPP: We stated one count of Libel 4 I, Jill M. Connelly, Court Reporter
5 per se. My understanding of the law in South 5 and Notary Public within and for the State of
6 Dakota is that damages are presumed, and it's 6 South Dakpta:
7 up toa jury. 7 DO HEREBY CERTIFY that the witness
8 THE WITNESS: We're invading the province 8 was first duly sworn by me to testify to the
9 of the jury if we try to. 9 truth, the whole truth, and nothing but the
10 MR. PARSON: That I understand. Do you 19 truth relative to the matter under
11 have any calculations of damages beyond an 11 consideration, and that the foregoing pages
12 assertion that you are libeled per se? 12 1 - 38, inclusive, are a true and correct
13 MR. EPP: Mr, Abourezk has testified those 13. transcript of my stenotype notes made during
14 discussions were with me and are protected by 14 the time of the taking of the deposition of
13 attorney-client privilege, and we're stated an 15 this witnesb,
16 objection on the record. 16 ] FURTHER CERTIFY that I am not an
17 MR. PARSON: Allright. We'll talk about 17 attorney for, nor related to the parties to
18 that, 18 this action, and that I am in no way interested
19 Q. Do you have any idea how many people have 19 in the outcome of this action.
20 viewed the ProBush.com website? 20 In testimony whereof, I have hereto
21 A. I don't know, 21 set my hand and official seal this 14th of
22 Q. Has anyone come to you and said they've seen 22. ‘February, 2005.
23. it, and what are you doing on there? 23
24 A. Yes. Yes. The guy who originally contacted 24 Jill M, Connelly, Notary Public
25 me, I can't remember who that was, and I've had 25 My commission expires 3-26-05
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1 other people discuss it. I don't even remember
2 who. I didn't keep track of who they were.
3 MR. PARSON: Can we take a one-minute
4 break?
5 MR. EPP: Sure.
6 (A recess was taken)
7 Q. Have you come across anyone who actually
8 believes you are a traitor as a result of this
9 list, that believes you've committed the crime
10 sof treason?
11 A. Except for the Marino brothers, I don't know of
12. anybody else who has told me. So how many
13. people believe that, ] don't know. I mean it's
14 impossible for me to know.
15 Q I'l represent to you they don't believe that,
16 but we'll find out tomorrow. Thank you very
17 ~~ much, Jim.
18 A. Thanks.
19 MR. EPP: Jim, you have a right --
20 THE WITNESS: I'll waive the reading.
21 (Witness excused)
22
23
24
25

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Index Page 8

U.S. DISTRICT COURT FILE
DISTRICT OF SOUTH DAKOTA: FInGD

SOUTHERNDISTRICT MAY 27 2603
JAMES G. ABOUREZK : 2

Plaintiff, Civil Action No,

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)} VERIFIED COMPLAINT,
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PROBUSH.COM, INC., a Pennsylvania corporation, NOTICE OF APPEARANCE,
and MICHAEL MARINO, an individual NOTICE OF PUNITIVE
DAMAGES and
NOTICE OF J URY TRIAL
DEMAND
Defendant.

COMES NOW the Plaintiff, James Abourezk, for his Vetified Complaint against
Defendants Probush.com Inc. and Michael Marino, he states andialleges:

INTRODUCTION -

The following action against the Defendants arises from libel of the Plaintiff
Plaintiff discovered that he was called a traitor on Defendants website, Under South
Dakota Law, such a statement is considered libel per se. .

PARTIES

1, Plaintiff is a resident of Sioux Falls, county of Minnehgha, State of South
Dakota. He is a former U.S, Senator from South Dakota.

3. On information-and belief Defendant, Michael Marinoiis the editor and
publisher of the probush.com website.

JURISDICTION and VENUE
JURISDICTION and VENUE

resident of the state of South Dakota and the Defendants are, under

information and belief, residents of the state of Pennsylvania. EXHIBIT

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| : 379
Case 4:03-cv-04146-LLP Document 47-2 Filed 07/01/05 Page 25 of 50 PagelD #

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Defendant’s disclaimer on its website, probush.com, is ineffective and

under SDCL 15-7-2(1), as they are transacting busihiess in South Dakota by
the sale of merchandise from Defendant’s website, probush.com, and/or
SDCL 15-7-2(2), the accrual in this state of a tort against the Plaintiff the
Defendants committed, and/or SDCL 15-7-2(14), the Defendants maintenance
of'a website accessible by South Dakota residents. |

GENERAL ALLEGATIONS COMMON to all COUNTS

On or about April 9, 2003, Plaintiff discovered a website, owned and operated
by the Defendants, which contained a picture of hin| and stated he was a
traitor. See Exhibit B, a true and correct copy of partial pages from
probush.com, alleged hereto and incorporated herein.

According to Black’s Law Dictionary (6" Ed, Abridged, 1991) at 1040, a
traitor is “one who is guilty of treason,”

Treason is a felony under federal law, 18 USCA § 2381, and South Dakota
law, SDCL 22-8-1.

The Defendant’s statement about the Plaintiff is lib elous under SDCL 26-11-
3. :

Plaintiff is an honorably discharged veteran of the United States Navy, a
former United States Congressman, and a former U.S. Senator. He also is
admitted to practice law before the courts of South Dakota, the District of
Columbia, and the U.S, Supreme Court, He has taken oaths to uphold the
Constitution of the United States in these positions. -

COUNT I---DEFAMATION PER SE

The Plaintiff incorporates the above paragraphs and restates them herein.
Defendants have made a false statement by calling the Plaintiff a traitor.

Such a statement is libelous per se under South Dakota law as it accuses the
Plaintiff of a criminal act he did not comunit. .

meaningless,

Defendants libelous statement is intended to injure the Plaintiff's legal
profession and standing in the community.

Defendants were not privileged to make such false statements about the
Plaintiff.
PRAYER FOR RELIEF
ieee a A .
THEREFORE, the Plaintiff prays for the following relief:

A. Actual damages in the amount of $2 million,
B. Punitive damages in the amount of $ 3 million.
C. The cost and attomey’s fees of this actiog,

2D. Removal of any reference to Plaintiff on Defendant’ S website,

E, Any other just and equitable relief.

“Dated this PHA day of Peg. ___, 2003.

~ “| aK?
James Aboufé

Plaintiff

VERIFICATION OF COMPLAINT.

$8.

State of South Dakota

County of Minnehaha

James Abourezk, an individual, being first duly sworn upon under oath says: that he

matters therein Stated upon information and belief, d as to sah matters he believes the

same to be true,
Subscribed and sworn to before me this) day of M ta 2003.
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© MONICA. _ JOHNSON x My Commission ms ~AG.97
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NOTICE OF APPEARANCE
Todd D. Epp, of counsel, Abourezk Law Offices, P.C., PO Box 1164, Sioux Falls,

SD 57101-1164, hereby notes his appearance on behaif of the Plaintiff above-named.

oth
Dated this a7 day of mM A. » 2003,

By:

Todd D. Epp
Of Counsel
Abourezk Law Offices, P.C.
POBox 1164

Sioux Falis, SD 57{01-1164
(c) 605.334.8402

(f) 605.334-9404

Email: tdepp@aol.cbm
Attomey for Plaintiff

NOTICE OF DEMAND FOR PUNITIVE OR EXEMPLARY DAMAGES

The Plaintiff hereby notifies the Defendants and the Court that heis seeking punitive or

_ &xemplary damages since he reasonably believes the Defendants actions against him are
Willful, wanton, and/or malicious,

NOTICE OF JURY TRIAL DEMAND:

Plaintiff demands trial by jury of all issues triable by a jury.

Todd B. Epp

|.
|

UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA
SOUTHERN DIVISION |

JAMES G. ABOUREZK, Civ, No, CIV03-4146

Plaintiff,

AFFIDAVIT OF
JAMES G. ABOUREZK

w-)--

PROBUSH.COM, INC, a Pennsylvania corporation,
And MICHAEL MARINO, an individual

Defendants.

COMES NOW the Plaintiff, James G. Abourezk, with an affidavit in the above
Captioned matter.

Under oath, your affiant states and affirms the following:

1, Tam over the age of 18 and understand that I am under oath,
2. Jam the Plaintiff in the above-noted matter.
3. T have never been accused of, charged with, or convicted of the crime of

treason by any state or by the United States of America.
4. On numerous occasions as a sailor, Congressman, Senator, and attorney, I

have sworn to uphold the laws and Constitution of the United States of

America.

EXHIBIT

oy

Ay EXHIBIT — |

. .. Case 4:03-cv-04146-LLP Document 47-2 Filed 07/01/05 Page 30 of 50 PagelD #: 384

Dated this 20" day of August, 2003.

2k
Abourezk Law Offices, PC
PO Box 1164

401 E. 8" St., Ste. 321

Sioux Falls, SD 57101-1164
: > 385
Case 4:03-cv-04146-LLP Document 47-2 Filed 07/01/05 Page 31 of 50 PagelD #: 3

County of Minnehaha:
SS
State of South Dakota:

NOTARY

On this the 20" day of August, 2003, the affiant, James G. Abourezk, personally

appeared before the undersigned officer and Signed the foregoing instrument in my
presence.

Dated this a orf of 4 But A , 2003.

Notary Public j

My Commission expires: q ~ S~O q

(sel) TODDD.EPP

(Beas) NOTARY PUBLIC $
Fyre) SOUTH DAKOTA $

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:

UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA
SOUTHERN DIVISION

JAMES G. ABOUREZK, Civ. No. CIV03-4146

Plaintiff,

AFFIDAVIT OF

TODD D. EPP
-=y-- :

PROBUSH.COM, INC, a Pennsylvania corporation,
And MICHAEL MARINO, an individual

Defendants.

COMES NOW Attomey Todd D. Epp, attorney for the Plaintiff, James G,
Abourezk, with an affidavit in the above captioned matter.

Under oath, your affiant States and affirms the following:

l. Tam over the age of 18 and understand that I am under oath.
2, lam the attorney for the Plaintiff in the above-noted matter.
3. On or about April 22, 2003, I became aware of the probush.com website

from my client, James G. Abourezk. I browsed the website and
discovered that Senator Abourezk as well as a number of other prominent
Americans were listed on the site’s “Traitors List.

4, Upon my initial viewing of the website, it is my récollection that I did not
see a “disclaimer” that said that the “Traitors List? was a parody or that

the Senator and othexs on the list were not “legal” traitors to the United

States of America.

EXHIBIT

EXHIBIT §

5

Case 4:03-cv-04146-LLP Document 47-2 Filed 07/01/05 Page 33 of 50 PagelD #: 387

5. From on or about April 22, 2003 until drafting ahd filing the above action
on behalf of my client on May 27, 2003 with thig Court, I periodically did
check the probush.com website for updates to the “Traitors List”. It is my
recollection that I did not see a prominent “disclaimer” on the site

concerning the “Traitors List” during this time, -

Dated this 20" day of August, 2003.

Teh DG

Todd D. Epp

Of Counsel

Abourezk Law Offices, PC
PO Box 1164 :

401 E.8" St, Ste. 321

Sioux Falls, SD 57101-1164

Attomey for Plaintiff
Case 4:03-cv-04146-LLP Document 47-2 Filed 07/01/05 Page 34 of 50 PagelD #: 388

County of Minnehaha:
‘SS
State of South Dakota:

NOTARY

On this the 20" day of August, 2003, the affiant, Todd D. Epp, personally appeared
before the undersigned officer and signed the foregoing instrument in my presence.

Dated this, QO” day of Aw aes , 2003.

Notary Public (/ V

My Commission expires: \— \4 - )

Renee teaiteh a teal,

(GED) NOTARY PUBLIC (Zea)
(SEAL) >! SOUTH DaKoTa (SEAL) Te :

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About Us Tributes Patriot List™ ProBush.com Gear!
Home Traitor List™ Feedback PraBush.com Poster

President of the United State:

Sign’ up ta receive aur
newsletter!

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Newsletter
Archives

Contact the .

President George Walker Bush

White House Staff "I had made it clear to the world that either you're with us or you"!

Get ¥ still stands"
Get Your
Gent Our Hero Hail to the Chief

Please Donate to ProBush.com's legal battle
_ James Abourezk

I pledge Allegiance to the flag of the
United States of America and to the
Republic for which it stands, one
nation under God, indivisible, with

Liberty and Justice for all. Abourezk said that his discussions with the speaker had also focuses
ROLE” it was playing in Lebanon, (Hizbullah) was like the toal th
History of The lebanonwire.com
Pledge
TRIBUTES Hizbullah is on the U.S. State Department list

The former Senator has no problem affording himself the:
like this about terrorist organizations, however feels ProBus
lines by listing him on a satirical "Tr;

+ U.S. Armed Forces

‘Ari Fleischer

Bruce Kieloch

a A i

Please support us! Anything you can spa)

Ben Jr.

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Case 4:03-cv-04146-LLP Document 47-2 Filed 07/01/05 Page 36 of 50 PagelD #: 390

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* Portland Police Dept.

® Mr, "Algor"

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Know Your Flag
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Remember...

"Murderous
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How dare Mr,

"Algor" criticize
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Hi Ron Parsons
Help Us Defend Our Lawsuit!

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® Abourezk Sues ProBush.com for $5 a ilion_

e Former Senator Files Libel Lawsuit '
© On patriotism |

e Former Senator Abourezk to Sue" I raitor' Website

* Defining treason

e Libel lawsuit filed against Web site -

« Abonrezk files libel lawsuit against web site.

¢ White House Spokesman Ari Fleischer to Resign.

¢ PABAAAG : Patriotic Americans Boycotting Anti - American Hollywood.
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' Official Document from the U.S. Senate, Comr
urging President Clinton to take military action ;
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Want to be a GOP Team Leader? 0

Want to be a part of 1
ProBush.com? aa

Email Your First and Last Name @ :
ay, Get your brick wall Bush 2
TeamLeader@probush.com a s!
: ID #: 391
_ Case 4:03-cv-04146-LLP Document 47-2 Filed 07/01/05 Page 37 of 50 Page

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Will the Real Hussein Please Stand Up?

CIA report on Iraq's weapons
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Tim Robbins Vs. Baseball Hall of Fa

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= Search ProBush.com >

Contact the webmasrer@probush com

Dear Starbucks:

Emafl sent to ProBush.com is manitored by the

US. Goversmen ‘ty ~As much as I enjoy your coffee, I will not be frequentin:

. tse a : . a Stop playing and promoting Sheryl Crow's music
© Copyright 2003, ProBush.com, Inc. Al! Righ: 1 ALL THE HEWS in ,
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Alvarez Says an Pro

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Some Advice for Hollywaod WW
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Alvarez Action Items. ae

PABAAH & Jon Alveraz on MSNBC! 1

Pathetic Email

| hate everything about Bush. I think he's an evil vil idiot. He and his right s right wing

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A Message to Dave Matthews from the editor:

Can you hear me now? Girl" | [Conrad Rein Speaks tc

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bear Conservative Friends:
Case 4:03-cv-04146-LLP Document 47-2 Filed 07/01/05 Page 39 of 50 PagelD #: 393

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The comments made by some of the Hollywood left stated here are despicable, and the
athe video store. Let's show our president, his administration, and our men and women i
Sappreciate them by sending a message to the Hollywood elite that their views about Bu:
Tpart in a boycott of Hollywood, now through Angust 31, 2003. Bush supporters, conser
Brraditional values, and anyone else who wants to send a message to Hollywood should :
pauring this period. I hope you will join in the fight against anti-Bush, anti-American He
gitiends who would be willing to join in this boycott. Let’s send Hollywood a message t

Boycott Hollywood

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Sincerely, Mary Kirchhoff
Sign up for the ProBush.com 1 |
Newsletter Free! q
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All Newsletters are mailed 1
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¢ Special promotions on "

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i Feel free at anytime to email Pro
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You Might Be a Liberal
Case 4:03-cv-04146-LLP Document 47-2 Filed 07/01/05 Page 40 of 50 PagelD #: 394

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© Ifyou can not properly operate a simple ballot, you might be a Palm Beach Lik
¢ Ifyou live in Berkeley, California, you might be a Liberal.

* Ifyou think race or gender should be a factor in hiring people or admitting ther
course) you might be a Liberal,

If you have ever believed anything that came out of Jesse Jackson's mouth, you

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Case 4:03-cv-04146-LLP Document 47-2 Filed 07/01/05 Page 41 of 50 PagelD #: 395

About Us Tributes Patriot Ligt™ ProBush.com Gear!
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Store!

Patriot List »

PATRIOT, n. One who loves his country, and zealously supports its
authority

I YOU DO SUPPORT OUR PRESIDENTS DECISIONS
YOU AREA PATRIOT TO OUR COUNTRY!

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Sign up to receive our Cafe-Patriot Now Open

your email 80

Newsletter
Archives —

Contact the
President

White House Staff

Get Your
ProBush.com

Gear!

I pledge Allegiance to the flag of the
United States of Arnetica and to the
Republic for which it stands, one
nation under God, indivisible, with
Liberty and Justice for all.

Pledge
TRIBUTES
@ ULS. Armed Forces

e Avi Fleischer

« Bruce Kieloch

Ben dr.

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»,Case 4:03-cv-04146-LLP Document 47-2 Filed 07/01/05 Page 42 of 50 PagelD #: 396

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If you wish to become an Official ProBush.com Patriot
please email your full name, age and state to

PatriotList@p robush.com

Email sent to ProBush.com is monitored by the U.S. Government

Honorary Patriots

3 Michael Savage
@ Glenn Beck

James Woods

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Case 4:03-cv-04146-LLP Document 47-2 Filed 07/01/05 Page 43 of 50 PagelD #: 397

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Add an Honorary Patriot

Patriot List is a Trademark of Probush.com

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About Us Tributes Patriot Lisi!™ ProBush,com Gear!
Home Traitor List™ Feedback ProBush.com Paster
Store!
What's Your Agenda? Traitor List ™

‘Treason: Violation of allegiance toward one's country or

sovereign, especially the betrayal of one's country by waging

war against it or by consciously and purposely acting to aid
its eneniies.

Traitor: If you do not support our President's
Sign up to raceive our decisions you are a traitor.

newsletter!

Get to know your traitor!

Newsletter

M *Parody. Not to be taken seriously, These "traitors" are not legal
Archives

“traitors” of the United States.

White House Staff

Get Your
PreBush.com

Tribunal for you.

I pledge Allegiance to the flag of the *
United States of America and to the §
Republic for which it stands, one
nation under God, indivisible, with
Liberty and Justice for all.

Sen. John Kerry

TRIBUTES

CS. Armed Forces

Ari Fleischer

Nancy Pelosi

Bruce Kieloch

* Ben Jr.

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Case 4:03-cv-04146-LLP Document 47-2 Filed 07/01/05 Page 48 of 50 PagelD #: 402
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® Portland Police Dept,
¢ Mr. "Algor"

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The Homeland
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Man or Midget?

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_ Ray Wirth

: Went to college with Ari Fleischer

Taliban Patty.
~ Patty Murray has won the "Tyrant Award"

Congratulations Patty

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